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                            UNITED STATES DISTRICT COURT 

                            EASTERN DISTRICT OF KENTUCKY 

                                   LONDON DIVISION 

                             CIVIL ACTION NO. 6:17-261-DCR 


In Re: 12581 North Highway 11, Oneida, KY 40972

UNITED STATES OF AMERICA,                                                           PLAINTIFF,

VS:

VICTORIA LUNSFORD

UNKNOWN SPOUSE OF VICTORIA LUNSFORD

DANIEL BOONE DEVELOPMENT COUNCIL, INC.                                          DEFENDANTS.

                  ANSWER TO PLAINTIFF'S AMENDED COMPLAINT

        Comes now the Defendant, DANIEL BOONE DEVELOPMENT COUNCIL, INC., A

Kentucky non-profit corporation, by and through counsel, and for its answer to the Plaintiffs

amended complaint filed herein states as follows:

        1) The Defendant, DANIEL BOONE DEVELOPMENT COUNCIL, INC., is now known

as DANIEL BOONE COMMUNITY ACTION AGENCY, INC., ("DBCAA"), is a Kentucky

Non-Profit Corporation, and admits to all things of record in the Commonwealth of Kentucky,

Clay County Clerk's Office, Manchester, Kentucky.

        2) The Defendant, DBCAA, admits that this Court has proper venue and jurisdiction in

this matter.

        3) The Defendants, DBCAA, is without sufficient knowledge to form a belief as to the

truth of the remaining allegations in paragraphs no. 3,4,5,7,8,9, 10, 11, 15, and 16, of the

Plaintiffs complaint, and therefore denies the same.



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       4) The Defendant, DBCAA, admits paragraph no. 12 in so much as to the best of the

knowledge of the Defendant, DBCAA, the Defendant, VICTORIA LUNSFORD, is the wife of

the Defendant, LEROY LUNSFORD, the Defendant, DBCAA, is without sufficient knowledge

to form a belief as to the truth of the remaining allegations in paragraph no. 12 of the Plaintiffs

complaint.

       5) The Defendant, DBCAA, holds a mortgage interest in the property by virtue of a

Mortgage dated April 9, 2003, recorded on April 21, 2003, in Mortgage Book 157, at Page 182,

in the Commonwealth of Kentucky, Clay County Clerk's Office. The Defendant, DBCAA,

believes its mortgage interest is a second mortgage superior to all other interests in the property

except for ad valorem taxes and the first mortgage held by the Plaintiff. The Defendant,

DBCAA, lacks sufficient knowledge to form a belief as to the truth of the remaining allegations

in paragraph no. 13 of the Plaintiff's complaint.

       6) The Defendant, DBCAA, admits to paragraph no. 14 that the Property is indivisiblle

and cannot be divided without materially impairing its value, but denies all other allegations

contained in paragraph no. 14 of the Plaintiff s complaint.

       7) The Defendant, DBCAA, admits to paragraph 6 of the Plaintiffs complaint.

       8) The Defendant, DBCAA, preserves its cross claim as set out in its original answer.

                                                      CUNNAGIN & CUNNAGIN, PLC.

                                                      By:s/Michael Cunnagin
                                                         Michael Cunnagin
                                                         Attorney for Defendant/Counter
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                                                      CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Answer to Amended
Complaint has been served by first class mail, postage prepaid to the following on this the 31 st
day of August, 2018:

             A. George Mason, Jr.
             George Mason Law Firm
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             Lexington KY 40513

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             Victoria Lunsford
             12581 North Highway 11
             Oneida, KY 40972

                                                                     S/Michael C. Cunnagin
                                                                     Michael C. Cunnagin
                                                                     Of counsel for DANIEL BOONE
                                                                     COMMUNITY ACTION AGENCY,
                                                                     INC.
z:DBCAA-lunsford, victoria~answertoAmendedcomplaint




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